Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 1 of 42 Page ID #1174




                        APPENDIX
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 2 of 42 Page ID #1175




                                                    TABLE OF CONTENTS

                                                                                                                                           Page
 I.     TIME BARRED CLAIMS ................................................................................................. 1
          Statutes of Repose ............................................................................................................ 1
               Illinois .......................................................................................................................... 1
               Indiana .......................................................................................................................... 3
               Tennessee ..................................................................................................................... 4
               Iowa ............................................................................................................................. 5
               Georgia ......................................................................................................................... 6
               North Carolina.............................................................................................................. 7
               Connecticut .................................................................................................................. 8
          Statutes of Limitations ..................................................................................................... 9
               Alabama ....................................................................................................................... 9
               Maine ......................................................................................................................... 10
               Michigan .................................................................................................................... 11
               Mississippi ................................................................................................................. 12
               Nebraska..................................................................................................................... 13
               New York ................................................................................................................... 14
          Warranty and Consumer Protection ........................................................................... 15
               Warranty Claims ........................................................................................................ 15
               Consumer Protection Claims ..................................................................................... 28


 II.    NUISANCE CLAIMS ....................................................................................................... 30


 III. CHEVRON-SPECIFIC ARGUMENTS ......................................................................... 35
          Complete Dismissal ......................................................................................................... 35
          Dismissal of Warranty Claims ......................................................................................... 37
          Dismissal of Consumer Protection Claims ...................................................................... 38
          Dismissal of Strict Liability Claims ................................................................................. 38


 IV. DERIVATIVE CLAIMS .................................................................................................. 40



                                                                        i
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 3 of 42 Page ID #1176




 The Illinois ten-year statute of repose bars the strict liability counts in the following cases:

 •   Cases filed in Illinois and governed by Illinois substantive law because the alleged exposure
     and/or injury occurred in Illinois, see Gregory v. Beazer E., 384 Ill. App. 3d 178, 200 (2008)
     (applying “most significant relationship” test to determine choice-of-law for statute of repose
     in products liability action):

  Case                                 Counts            Complaint Cites

  Runyon v. Syngenta Crop              1, 2, 7, 8        ¶¶ 7, 11, 17, 95, 104, 114, 122, 133, 158
  Protection, LLC,                                       (Illinois connections);
    No. 21-pq-549                                        ¶ 163 (exposure period 1985-1995)

  Kearns v. Syngenta Crop              1, 2, 7, 8, 13,   ¶¶ 1-3, 140 (Illinois connections);
  Protection LLC,                      14, 19, 20, 25,   ¶¶ 140-42 (exposure period 1967-1981)
    No. 21-pq-550                      26, 31, 32

  Durbin v. Syngenta Crop              1, 2, 7, 8        ¶¶ 1, 2, 3, 137, 139-141, 195-196, 201-202
  Protection LLC,                                        (Illinois connections);
    No. 21-pq-551                                        ¶ 129 (exposure period 1983-2002)

  Willyard v. Syngenta AG,             1, 2, 7, 8        ¶¶ 1, 129 (Illinois connections);
    No. 21-pq-715                                        ¶ 129 (exposure period 1971-1975)

  Burnette v. Syngenta Crop            1, 2, 7, 8        ¶¶ 5, 128 (Illinois connections);
  Protection, LLC,                                       ¶ 128 (exposure period 1970-1996)
    No. 21-pq-822

  Adams v. Syngenta Crop               1, 2, 5, 6        ¶¶ 3, 4, 129 (Illinois connections);
  Protection LLC,                                        ¶ 129 (exposure period 1960s-1980s)
    No. 21-pq-828

  Tippey v. Syngenta Crop              1, 2, 7, 8        ¶¶ 3-4, 140, 140, 142-44, 202, 208
  Protection LLC,                                        (Illinois connections);
     No. 21-pq-829                                       ¶ 133 (exposure period 1980-1984)

  Barber v. Syngenta Crop              1, 2, 7, 8        ¶¶ 3, 4, 135, 140, 201-202, 207-208
  Protection LLC,                                        (Illinois connections);
    No. 21-pq-830                                        ¶ 134 (exposure period 1964-1979)

  Douglas v. Syngenta Crop             2, 3              ¶¶ 2, 4, 14, 17-18, 35, 130-33, 150
  Protection, LLC,                                       (Illinois connections);
    No. 21-pq-833                                        ¶ 113 (exposure period 1992-1993)




                                                    1
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 4 of 42 Page ID #1177




  Stanton v. Syngenta Crop           2, 3              ¶¶ 2, 4, 14, 17-18, 35, 114, 130-133, 150
  Protection, LLC,                                     (Illinois connections);
     No. 21-pq-835                                     ¶ 113 (exposure period 1956-1972)

  Fuller v. Syngenta Crop            2, 3              ¶¶ 2, 4, 14, 17-18, 35, 130-133, 150
  Protection, LLC,                                     (Illinois connections);
    No. 21-pq-836                                      ¶ 113 (exposure period 1977-mid-2000s)

  Shea v. Syngenta Crop              1, 2, 7, 8        ¶¶ 12, 13, 14 (Illinois connections);
  Protection LLC,                                      ¶ 15 (exposure period 1970s-1980s)
    No. 21-pq-840

  Bankston v. Syngenta Crop          2, 3              ¶¶ 2, 4, 14, 17-18, 35, 130-133, 150
  Protection, Inc.,                                    (Illinois connections);
    No. 21-pq-843                                      ¶ 113 (exposure period 1966-1974)


 •   Cases direct-filed in this MDL and governed by Illinois substantive law because the alleged
     exposure and/or injury occurred in Illinois, see Gregory v. Beazer E., 384 Ill. App. 3d 178, 200
     (2008) (applying “most significant relationship” test to determine choice-of-law for statute of
     repose in products liability action):

  Case                               Counts            Complaint Cites

  Richter v. Syngenta Crop           1, 2, 7, 8, 13,   ¶¶ 3-4, 133 (Illinois connections);
  Protection, LLC,                   14, 19, 20        ¶ 133 (exposure period 1975-2001)
     No. 21-pq-571

  Walkington v. Syngenta AG,         1, 2, 6, 7, 11,   ¶¶ 3, 4 (Illinois connections);
    No. 21-pq-601                    12, 16, 17        ¶¶ 133 (exposure period 1973-1978)

  Hawkins v. Syngenta Crop           2, 3              ¶¶ 2, 4, 17, 20-21, 35, 129-132, 150
  Protection LLC,                                      (Illinois connections);
    No. 21-pq-635                                      ¶ 111 (exposure period 1974-2001)


 •   Cases filed in California but governed by Illinois substantive law because the alleged exposure
     and/or injury occurred in Illinois, see McCann v. Foster-Wheeler LLC, 48 Cal. 4th 68, 87
     (2010) (applying foreign state’s time bars where exposure to toxic substance occurred in
     foreign state):

  Case                               Counts            Complaint Cites

  Dietrich v. Syngenta Crop          1, 2, 5, 6        ¶¶ 4, 137-138 (Illinois connections);
  Protection, LLC,                                     ¶ 137 (exposure period 1975-1995)
    No. 21-pq-622

                                                   2
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 5 of 42 Page ID #1178




 The Indiana 10-year statute of repose bars all strict liability, negligence, and implied warranty
 counts in the following cases:

 •   Cases filed in Illinois but governed by Indiana’s statute of repose because Illinois treats the
     statute of repose as substantive and the exposure and/or injury occurred in Indiana, see Gregory
     v. Beazer E., 384 Ill. App. 3d 178, 200 (2008) (applying “most significant relationship” test to
     determine choice-of-law for statute of repose in products liability action, and determining that
     Indiana statute of repose applied):

  Case                               Counts              Complaint Cites

  Hemker v. Syngenta Crop            1, 2, 3, 6, 7, 8,   ¶ 162 (Indiana connections);
  Protection, LLC,                   9, 12, 13, 14,      ¶ 164 (diagnosis in 2008)
    No. 21-pq-547                    15, 18, 19, 20,
                                     21, 24


 •   Cases filed in California but governed by Indiana substantive law because the alleged exposure
     and/or injury occurred in Indiana, see McCann v. Foster-Wheeler LLC, 48 Cal. 4th 68, 87
     (2010) (applying foreign state’s time bars where exposure to toxic substance occurred in
     foreign state):

  Case                               Counts              Complaint Cites

  Werking v. Syngenta AG,            1, 2, 3, 4          ¶¶ 26, 74 (Indiana connections);
    No. 21-pq-625                                        ¶¶ 26, 74 (exposure period 1970s-1990s)


 •   Cases filed in Pennsylvania but governed by Indiana substantive law because the alleged
     exposure and/or injury occurred in Indiana, see Kornfeind v. New Werner Holding Co., 241
     A.3d 1212, 1226-27 (Pa. 2020) (applying “most significant relationship” test for repose choice-
     of-law, and recognizing presumption in favor of state of injury):

  Case                               Counts              Complaint Cites

  Copas v. Syngenta Crop             1, 2, 3, 6, 7, 8,   ¶¶ 13-14, 110, 122 (Indiana connections);
  Protection LLC,                    9, 12               ¶¶ 15-16 (exposure period 1970s-2007)
    No. 21-pq-619




                                                   3
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 6 of 42 Page ID #1179




 The Tennessee 10-year statute of repose bars all products liability counts in the following cases:

 •   Cases filed in Minnesota but governed by Tennessee substantive law because the alleged injury
     occurred in Tennessee, see Minn. Stat. § 541.31(1) (directing application of the limitations
     period of the state whose law governs the substantive claim):

  Case                               Counts              Complaint Cites

  Self v. Syngenta Crop              1, 2, 3, 4, 7       ¶¶ 2, 108 (Tennessee connections);
  Protection, LLC,                                       ¶ 110 (exposure period 1973-1978)
     No. 21-pq-649




                                                     4
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 7 of 42 Page ID #1180




 The Iowa 15-year statute of repose bars all strict liability, negligence, and implied warranty counts
 in the following cases:

 •   Cases direct-filed in this MDL and governed by Iowa substantive law because the plaintiff
     indicated that the suit would otherwise have been filed in Iowa and the alleged exposure and/or
     injury occurred in Iowa:

  Case                                Counts               Complaint Cites

  Byrnes v. Syngenta Crop             1, 2, 3, 6, 8,       ¶¶ 3, 6-8, 15, 45-46, 103, 112, 131-38, 141,
  Protection LLC,                     9, 10, 13            146-50 (Iowa designation and connections);
    No. 21-pq-695                                          ¶ 138 (exposure period 1980s-early 2000s)




                                                       5
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 8 of 42 Page ID #1181




 The Georgia 10-year statute of repose bars strict-liability counts in the following cases:

 •   Cases filed in Georgia and governed by Georgia’s statute of repose because Georgia treats its
     statute of repose as procedural for choice-of-law purposes, see Bagnell v. Ford Motor Co., 297
     Ga. App. 835, 837 (2009):

  Case                                Counts           Complaint Cites

  Parker v. Chevron U.S.A., Inc.,     1, 2             ¶ 145 (exposure period 1983-1995)
    No. 21-pq-880


 •   Cases filed in California but governed by Georgia law because the alleged exposure and/or
     injury occurred in Georgia, see McCann v. Foster-Wheeler LLC, 48 Cal. 4th 68, 87 (2010)
     (applying foreign state’s time bars where exposure to toxic substance occurred in foreign state):

  Case                                Counts           Complaint Cites

  Majors v. Syngenta AG,              1, 2             ¶¶ 2, 6, 72 (Georgia connections);
    No. 21-pq-566                                      ¶¶ 26, 74 (exposure period 1972-2005)

  Jones v. Syngenta AG,               1, 2             ¶¶ 2, 72-77 (Georgia connections);
     No. 21-pq-669                                     ¶ 26 (exposure period 1975-2001)




                                                  6
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 9 of 42 Page ID #1182




 The North Carolina 12-year statute of repose bars all counts in the following cases:

 •   Cases filed in Illinois but governed by North Carolina’s statute of repose because Illinois treats
     the statute of repose as substantive and the exposure and/or injury occurred in North Carolina,
     see Gregory v. Beazer E., 384 Ill. App. 3d 178, 200 (2008) (applying “most significant
     relationship” test to determine choice-of-law for statute of repose in products liability action,
     and determining that Indiana statute of repose applied):

  Case                                Counts             Complaint Cites

  Heath v. Syngenta Crop              1, 2, 3, 4, 5, 6   ¶¶ 2, 115 (North Carolina connections);
  Protection, LLC,                                       ¶ 114 (exposure period 1966-1979)
    No. 21-pq-734




                                                    7
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 10 of 42 Page ID #1183




  The Connecticut 10-year statute of repose bars all counts in the following cases:

  •   Cases filed in California but governed by Connecticut law because the alleged exposure and/or
      injury occurred in Connecticut, see McCann v. Foster-Wheeler LLC, 48 Cal. 4th 68, 87 (2010)
      (applying foreign state’s time bars where exposure to toxic substance occurred in foreign state):

   Case                                Counts           Complaint Cites

   O’Connor v. Syngenta AG,            1-6              ¶¶ 2, 6, 72, 74 (Connecticut connections);
     No. 21-pq-556                                      ¶¶ 26, 74 (exposure period 1980s)




                                                   8
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 11 of 42 Page ID #1184




  The Alabama 2-year statute of limitations bars all tort counts in the following cases:

  •   Cases filed in Alabama and governed by Alabama’s statute of limitations because Alabama
      treats its statute of limitations as procedural for choice-of-law purposes, see Etheredge v. Genie
      Indus., Inc., 632 So. 2d 1324, 1326-27 (Ala. 1994):

   Case                                Counts             Complaint Cites

   Rutherford v. Syngenta Crop         1, 2, 3, 5, 6, 7   ¶ 130 (diagnosis in 2013);
   Protection LLC,                                        ¶ 129 (exposure period 1970s to late 1980s)
     No. 21-pq-606

   Taylor v. Syngenta Crop             1, 2, 3, 5, 6, 7   ¶ 130 (diagnosis in 2012)
   Protection LLC,
     No. 21-pq-786

   Odom v. Syngenta Crop               1, 2, 3, 5, 6, 7   ¶ 130 (diagnosis in 2000);
   Protection LLC,                                        ¶ 129 (exposure period 1960s to 1980s)
     No. 21-pq-849


  •   Cases direct-filed in this MDL and governed by Alabama substantive law because the because
      the plaintiff indicated that the suit would otherwise have been filed in Alabama and/or the
      alleged exposure and/or injury occurred in Alabama:

   Case                                Counts             Complaint Cites

   Eiland v. Syngenta AG,              1, 2, 3            ¶¶ 2, 6, 70 (Alabama connections);
      No. 21-pq-714                                       ¶ 75 (diagnosis in 2006);
                                                          ¶ 24 (exposure period 1981-1989)


  •   Cases filed in California but governed by Alabama law because the alleged exposure and/or
      injury occurred in Alabama, see McCann v. Foster-Wheeler LLC, 48 Cal. 4th 68, 87 (2010)
      (applying foreign state’s time bars where exposure to toxic substance occurred in foreign state):

   Case                                Counts             Complaint Cites

   Fillinghim v. Syngenta AG,          1, 2, 3            ¶ 73 (Alabama connections);
      No. 21-pq-846                                       ¶ 78 (diagnosis in 2011)




                                                     9
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 12 of 42 Page ID #1185




  The Maine 6-year statute of limitations bars all counts, including statutory counts, in the
  following cases:

  •   Cases filed in Pennsylvania but governed by Maine substantive law because the alleged
      exposure and/or injury occurred in Maine, see 42 Pa. C.S. § 5521 (borrowing statute for claims
      that accrue outside the state):

   Case                             Counts              Complaint Cites

   Crane v. Syngenta Crop           1, 2, 3, 4, 5, 6, 7, ¶¶ 13-15 (Maine connections);
   Protection LLC,                  8, 9, 10, 11, 12     ¶ 17 (diagnosis in 2013)
     No. 21-pq-656




                                                  10
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 13 of 42 Page ID #1186




  The Michigan 3-year statute of limitations bars all tort counts in the following cases:

  •   Cases filed in Pennsylvania but governed by Michigan substantive law because the alleged
      exposure and/or injury occurred in Michigan, see 42 Pa. C.S. § 5521 (borrowing statute for
      claims that accrue outside the state):

   Case                             Counts               Complaint Cites

   Friday v. Syngenta Crop          1, 2, 3, 4, 7, 8,    ¶¶ 13-15 (Michigan connections);
   Protection LLC,                  9, 10                ¶ 17 (diagnosis in 2017)
      No. 21-pq-657


  •   Cases filed in California but governed by Michigan substantive law because the alleged
      exposure and/or injury occurred in Michigan, see McCann v. Foster-Wheeler LLC, 48 Cal. 4th
      68, 87 (2010) (applying foreign state’s time bars where exposure to toxic substance occurred
      in foreign state):

   Case                             Counts               Complaint Cites

   Mettetal v. Syngenta AG,         1, 2, 3              ¶ 74 (Michigan connections);
     No. 21-pq-668                                       ¶¶ 26, 74 (alleged exposure 1967-1978)




                                                    11
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 14 of 42 Page ID #1187




  The Mississippi 3-year statute of limitations bars all tort counts in the following cases:

  •   Cases filed in Mississippi and governed by Mississippi’s statute of limitations because
      Mississippi treats its statute of limitations as procedural for choice-of-law purposes, see
      Williams v. Taylor Mach., Inc., 529 So. 2d 606, 609 (Miss. 1988):

   Case                              Counts               Complaint Cites

   Nunnery v. Syngenta AG,           1, 2, 3, 4, 6, 7,    ¶ 213 (diagnosis in 2012)
     No. 21-pq-607                   8, 9

   Ruscoe v. Syngenta AG,            1, 2, 3, 4, 6, 7,    ¶ 217 (symptoms began in 2012)
     No. 21-pq-609                   8, 9


  •   Cases direct-filed in this MDL and governed by Mississippi’s statute of limitations because
      the plaintiff indicated that the suit would otherwise have been filed in Mississippi, which treats
      its statute of limitations as procedural for choice-of-law purposes, see id.:

   Case                              Counts               Complaint Cites

   Lovelady v. Syngenta AG,          1, 2, 3, 5, 6, 7     ¶¶ 11, 14, 16 (Mississippi designation);
     No. 21-pq-704                                        ¶ 149 (diagnosis in 2017)


  •   Cases filed in Minnesota but governed by Mississippi law because the alleged exposure and/or
      injury occurred in Mississippi, see Minn. Stat. § 541.31(1) (directing application of the
      limitations period of the state whose law governs the substantive claim); Nodak Mut. Ins. Co.
      v. Am. Fam. Mut. Ins. Co., 604 N.W.2d 91, 96 (Minn. 2000) (holding “the state where the
      accident occurred has the strongest governmental interest” and its law “should be applied”):

   Case                              Counts               Complaint Cites

   Elmore v. Syngenta Crop           1, 2, 3, 4           ¶¶ 110-112, 126, 127, 129, 146, 168-172
   Protection, LLC,                                       (Mississippi connections);
     No. 21-pq-638                                        ¶ 108 (diagnosis in 2017)




                                                     12
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 15 of 42 Page ID #1188




  The Nebraska 4-year statute of limitations bars all tort counts in the following cases:

  •   Cases direct-filed in this MDL and governed by Nebraska substantive law because the plaintiff
      indicated that the suit would otherwise have been filed in Nebraska, and the alleged exposure
      and/or injury occurred in Nebraska:

   Case                             Counts              Complaint Cites

   Van Pelt v. Syngenta AG,         1, 2, 3             ¶¶ 10, 27 (Nebraska designation and
     No. 21-pq-608                                      connections);
                                                        ¶ 79 (diagnosis in 2004)




                                                  13
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 16 of 42 Page ID #1189




  The New York 3-year statute of limitations bars all tort and statutory counts in the following
  cases:

  •   Cases direct-filed in this MDL and governed by New York substantive law because the
      plaintiff indicated that the suit would otherwise have been filed in New York, and the alleged
      exposure and/or injury occurred in New York:

   Case                             Counts               Complaint Cites

   Henderson v. Syngenta Crop       1, 2, 3, 4, 5, 8,    ¶¶ 1-3, 6-8, 15, 46, 103, 112, 131-138, 139,
   Protection LLC,                  9, 10, 11, 12        142, 147-151 (New York designation and
     No. 21-pq-636                                       connections);
                                                         ¶ 140 (diagnosis in 2009)


  •   Cases filed in California but governed by New York substantive law because the alleged
      exposure and/or injury occurred in New York, see McCann v. Foster-Wheeler LLC, 48 Cal.
      4th 68, 87 (2010) (applying foreign state’s time bars where exposure to toxic substance
      occurred in foreign state):

   Case                             Counts               Complaint Cites

   Albanese v. Syngenta AG,         1, 2, 3              ¶¶ 2, 6, 26, 72, 74 (New York connections);
      No. 21-pq-555                                      ¶ 77 (diagnosis in 2012)

   Galasso v. Syngenta AG,          1, 2, 3              ¶¶ 26, 74 (New York connections);
     No. 21-pq-630                                       ¶ 77 (diagnosis in 2015)




                                                    14
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 17 of 42 Page ID #1190




  The warranty counts in the following cases are barred by the applicable statute of limitations:

  •   Cases governed by the Alabama 4-year statute of limitations because they were filed in
      Alabama, where limitations periods are procedural for choice-of-law purposes, Etheredge v.
      Genie Indus., Inc., 632 So. 2d 1324, 1326-27 (Ala. 1994); or because they were direct-filed in
      this MDL and the plaintiff indicated that the suit would otherwise have been filed in Alabama
      and/or the alleged exposure and/or injury occurred in Alabama; or because they were filed in
      California but governed by Alabama law because the alleged exposure and/or injury occurred
      in Alabama, see McCann v. Foster-Wheeler LLC, 48 Cal. 4th 68, 87 (2010) (applying foreign
      state’s time bars where exposure to toxic substance occurred in foreign state):

   Case                          Choice of Law           Counts     End of Exposure Period /
                                                                    Latest Possible Delivery Date

   Rutherford v. Syngenta        Filed in Alabama        4, 8       ¶ 129 (1980s)
   Crop Protection LLC,
     No. 21-pq-606

   Taylor v. Syngenta Crop       Filed in Alabama        4, 8       ¶ 129 (2010)
   Protection LLC,
     No. 21-pq-786

   Odom v. Syngenta Crop         Filed in Alabama        4, 8       ¶ 129 (late 1980s)
   Protection LLC,
     No. 21-pq-849

   Hill v. Syngenta Crop         Direct-filed in         6          ¶ 114 (2010)
   Protection, LLC,              MDL. See ¶ 19
      No. 21-pq-594              (Alabama
                                 designation)

   Eiland v. Syngenta AG,        Direct-filed in         4          ¶ 24 (1999)
      No. 21-pq-714              MDL. See ¶¶ 2, 6,
                                 70 (Alabama
                                 connections)

   Heath v. Syngenta Crop        Direct-filed in         6          ¶ 114 (1979)
   Protection, LLC,              MDL. See ¶ 19
     No. 21-pq-734               (Alabama
                                 designation)

   Fillinghim v. Syngenta AG,    Filed in California.    4          ¶ 78 (2011)
      No. 21-pq-846              See ¶ 73 (Alabama
                                 connections)



                                                   15
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 18 of 42 Page ID #1191




  •   Cases governed by the Arizona 4-year statute of limitations because they were filed in Arizona
      and Arizona courts apply Arizona’s statute of limitations except in “exceptional
      circumstances” not present here, Jackson v. Chandler, 204 Ariz. 135, 136-37 (2003); or
      because they were filed in Minnesota but governed by Arizona law because the alleged
      exposure and/or injury occurred in Arizona, see Minn. Stat. § 541.31(1) (directing application
      of the limitations period of the state whose law governs the substantive claim); Nodak Mut.
      Ins. Co. v. Am. Fam. Mut. Ins. Co., 604 N.W.2d 91, 96 (Minn. 2000) (holding “state where the
      accident occurred has the strongest governmental interest” and its law “should be applied”):

   Case                           Choice of Law           Counts     End of Exposure Period /
                                                                     Latest Possible Delivery Date

   Barr v. Syngenta AG,           Filed in Arizona        4          ¶ 25 (1970s)
     No. 21-pq-618

   West v. Syngenta Crop          Filed in Minnesota.     7          ¶ 110 (1968)
   Protection, LLC,               See ¶¶ 2, 111, 201-
     No. 21-pq-650                203 (Arizona
                                  connections)


  •   Cases governed by the Connecticut 4-year statute of limitations because they were filed in
      California but governed by Connecticut law because the alleged exposure and/or injury
      occurred in Connecticut, McCann v. Foster-Wheeler LLC, 48 Cal. 4th 68, 87 (2010) (applying
      foreign state’s time bars where exposure to toxic substance occurred in foreign state):

   Case                           Choice of Law           Counts     End of Exposure Period /
                                                                     Latest Possible Delivery Date

   O’Connor v. Syngenta AG,       Filed in California.    4          ¶ 26 (1980s)
     No. 21-pq-556                See ¶¶ 2, 6, 72, 74
                                  (Connecticut
                                  connections)


  •   Cases governed by the Illinois 4-year statute of limitations because they were filed in Illinois,
      where limitations periods are procedural for choice-of-law purposes, Ennenga v. Starns, 677
      F.3d 766, 774 (7th Cir. 2012); or because they were direct-filed in this MDL and the alleged
      exposure and/or injury occurred in Illinois; or because they were filed in California but
      governed by Illinois law because the alleged exposure and/or injury occurred in Illinois,
      McCann v. Foster-Wheeler LLC, 48 Cal. 4th 68, 87 (2010) (applying foreign state’s time bars
      where exposure to toxic substance occurred in foreign state):


                                                   16
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 19 of 42 Page ID #1192




   Case                        Choice of Law            Counts    End of Exposure Period /
                                                                  Latest Possible Delivery Date

   Hemker v. Syngenta Crop     Filed in Illinois        6, 12,    ¶ 163 (1980)
   Protection, LLC,                                     18, 24
     No. 21-pq-547

   Runyon v. Syngenta Crop     Filed in Illinois        6, 12     ¶ 163 (1995)
   Protection, LLC,
     No. 21-pq-549

   Kearns v. Syngenta Crop     Filed in Illinois        6, 12,    ¶¶ 140-142 (1981)
   Protection LLC,                                      18, 24,
     No. 21-pq-550                                      30, 36

   Durbin v. Syngenta Crop     Filed in Illinois        6, 12     ¶ 129 (2002)
   Protection LLC,
     No. 21-pq-551

   Burnette v. Syngenta Crop   Filed in Illinois        6, 12     ¶ 128 (1996)
   Protection, LLC,
     No. 21-pq-822

   Adams v. Syngenta Crop      Filed in Illinois        4, 8      ¶ 129 (1980s)
   Protection LLC,
     No. 21-pq-828

   Tippey v. Syngenta Crop     Filed in Illinois        6, 12     ¶ 133 (1984)
   Protection LLC,
      No. 21-pq-829

   Barber v. Syngenta Crop     Filed in Illinois        6, 12     ¶ 134 (1979)
   Protection LLC,
     No. 21-pq-830

   Altman v. Syngenta Crop     Filed in Illinois        6         ¶ 113 (2011)
   Protection, LLC,
      No. 21-pq-832

   Douglas v. Syngenta Crop    Filed in Illinois        6         ¶ 113 (1993)
   Protection, LLC,
     No. 21-pq-833

   Stanton v. Syngenta Crop    Filed in Illinois        6         ¶ 113 (1972)
   Protection, LLC,
      No. 21-pq-835

                                                   17
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 20 of 42 Page ID #1193




   Fuller v. Syngenta Crop       Filed in Illinois        6        ¶ 113 (mid-2000s)
   Protection, LLC,
     No. 21-pq-836

   Branscum v. Syngenta          Filed in Illinois        6        ¶ 113 (2014)
   Crop Protection, LLC,
     No. 21-pq-838

   Branscum v. Syngenta          Filed in Illinois        6        ¶ 113 (2014)
   Crop Protection, LLC,
     No. 21-pq-839

   Shea v. Syngenta Crop         Filed in Illinois        6, 12    ¶ 15 (1980s)
   Protection LLC,
     No. 21-pq-840

   Bankston v. Syngenta Crop     Filed in Illinois        6        ¶ 113 (1974)
   Protection, Inc.,
     No. 21-pq-843

   Richter v. Syngenta Crop      Direct-filed in MDL. 6, 12,       ¶ 133 (2001)
   Protection, LLC,              See ¶¶ 3-4, 133        18, 24
      No. 21-pq-571              (Illinois connections)

   Walkington v. Syngenta AG, Direct-filed in MDL. 5, 10,          ¶ 133 (1978)
     No. 21-pq-601            See ¶ 4 (Illinois    15, 20
                              connections)

   Dietrich v. Syngenta Crop     Filed in California.   4, 8       ¶ 137 (1995)
   Protection, LLC,              See ¶¶ 4, 137, 138
     No. 21-pq-622               (Illinois connections)


  •   Cases governed by the Indiana 4-year statute of limitations because they were filed in
      California but governed by Indiana law because the alleged exposure and/or injury occurred in
      Indiana, McCann v. Foster-Wheeler LLC, 48 Cal. 4th 68, 87 (2010) (applying foreign state’s
      time bars where exposure to toxic substance occurred in foreign state):

   Case                          Choice of Law            Counts   End of Exposure Period /
                                                                   Latest Possible Delivery Date

   Werking v. Syngenta AG,       Filed in California.     4        ¶¶ 26, 74 (1990s)
     No. 21-pq-625               See ¶¶ 26, 74
                                 (Indiana
                                 connections)


                                                     18
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 21 of 42 Page ID #1194




  •   Cases governed by the Kentucky 3-year statute of limitations because they were filed in
      Minnesota but allege exposure and/or injury in Kentucky, see Minn. Stat. § 541.31(1)
      (directing application of the limitations period of the state whose law governs the substantive
      claim); Nodak Mut. Ins. Co. v. Am. Fam. Mut. Ins. Co., 604 N.W.2d 91, 96 (Minn. 2000)
      (holding “state where the accident occurred has the strongest governmental interest” and its
      law “should be applied”):

   Case                           Choice of Law           Counts    End of Exposure Period /
                                                                    Latest Possible Delivery Date

   Gaddis v. Syngenta Crop        Filed in Minnesota.     7         ¶ 110 (1976)
   Protection, LLC,               See ¶¶ 2, 111, 201-
     No. 21-pq-653                203 (Kentucky
                                  connections)


  •   Cases governed by the Louisiana 4-year statute of limitations because they were filed in
      Louisiana, see La. Civ. Code art. 3549; or because they were direct-filed in this MDL but allege
      exposure and/or injury in Louisiana; or because they were filed in California but governed by
      Louisiana law because the alleged exposure and/or injury occurred in Louisiana, McCann v.
      Foster-Wheeler LLC, 48 Cal. 4th 68, 87 (2010) (applying foreign state’s time bars where
      exposure to toxic substance occurred in foreign state):

   Case                           Choice of Law           Counts    End of Exposure Period /
                                                                    Latest Possible Delivery Date

   Causey v. Syngenta Crop        Filed in Louisiana      6, 12     ¶ 127 (1996)
   Protection LLC,
     No. 21-pq-790

   Miller v. Syngenta Crop        Direct-filed in MDL. 6, 12        ¶ 127 (2002)
   Protection, LLC,               See ¶ 5 (Louisiana
     No. 21-pq-591                connections)

   Hensgens v. Syngenta AG,       Filed in California.    4         ¶ 78 (2014)
     No. 21-pq-617                See ¶¶ 2, 6, 26, 73
                                  (Louisiana
                                  connections)

   Brown Jefferson v.             Filed in California.    6, 12     ¶ 138 (2013)
   Syngenta AG,                   See ¶¶ 3, 5, 138
      No. 21-pq-632               (Louisiana
                                  connections)



                                                   19
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 22 of 42 Page ID #1195




  •   Cases governed by the Maryland 4-year statute of limitations because they were filed in
      California but governed by Maryland law because the alleged exposure and/or injury occurred
      in Maryland, McCann v. Foster-Wheeler LLC, 48 Cal. 4th 68, 87 (2010) (applying foreign
      state’s time bars where exposure to toxic substance occurred in foreign state);

   Case                          Choice of Law          Counts    End of Exposure Period /
                                                                  Latest Possible Delivery Date

   Dove v. Syngenta AG,          Filed in California.   4         ¶ 74 (1990s)
     No. 21-pq-633               See ¶¶ 72, 74
                                 (Maryland
                                 connections)

   Adams v. Syngenta AG,         Filed in California.   4         ¶¶ 26, 74 (1980)
     No. 21-pq-660               See ¶¶ 2, 6, 72
                                 (Maryland
                                 connections)


  •   Cases governed by the Minnesota 4-year statute of limitations because they were direct-filed
      in this MDL but allege exposure and injury in Minnesota; or because they were filed in
      California but governed by Minnesota law because the alleged exposure and/or injury occurred
      in Minnesota, McCann v. Foster-Wheeler LLC, 48 Cal. 4th 68, 87 (2010) (applying foreign
      state’s time bars where exposure to toxic substance occurred in foreign state):

   Case                          Choice of Law          Counts    End of Exposure Period /
                                                                  Latest Possible Delivery Date

   Nelson v. Syngenta AG,        Filed in California.   4         ¶¶ 26, 74 (2012)
     No. 21-pq-662               See ¶¶ 2, 72
                                 (Minnesota
                                 connections)

   Bakken v. Syngenta Crop       Direct-filed in MDL. 4           ¶ 23 (1989)
   Protection LLC,               See ¶ 62 (Minnesota
     No. 21-pq-722               connections)


  •   Cases governed by the Mississippi 6-year statute of limitations because they were filed in
      Mississippi, see Williams v. Taylor Mach., Inc., 529 So. 2d 606, 609 (Miss. 1988); or because
      they were direct-filed in this MDL but alleged exposure and/or injury in Mississippi; or
      because they were filed in California but governed by Mississippi law because the alleged
      exposure and/or injury occurred in Mississippi, McCann v. Foster-Wheeler LLC, 48 Cal. 4th



                                                  20
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 23 of 42 Page ID #1196




      68, 87 (2010) (applying foreign state’s time bars where exposure to toxic substance occurred
      in foreign state):

   Case                           Choice of Law            Counts    End of Exposure Period /
                                                                     Latest Possible Delivery Date

   Ruscoe v. Syngenta AG,         Filed in Mississippi     5, 10     ¶ 8 (1999)
     No. 21-pq-609

   Lovelady v. Syngenta AG,       Direct-filed in MDL. 4, 8          ¶ 150 (2002)
     No. 21-pq-704                See ¶¶ 1-5, 11, 14,
                                  16, 55, 110, 140-
                                  147, 158-162
                                  (Mississippi
                                  connections)

   Rowan v. Syngenta AG,          Filed in California.  4            ¶ 28 (early 2000s)
     No. 21-pq-778                See ¶ 2, 4, 8, 74-75,
                                  128-131 (Mississippi
                                  connections)


  •   Cases governed by the Missouri 4-year statute of limitations because they were filed in
      Missouri, which treats its statute of limitations as procedural for choice-of-law purposes,
      Alvarado v. H&R Block, Inc., 24 S.W. 3d 236, 241-42 (Mo. Ct. App. 2000); or because they
      were direct-filed in this MDL but allege exposure and/or injury in Missouri; or because they
      were filed in California but governed by Missouri law because the alleged exposure and/or
      injury occurred in Missouri, McCann v. Foster-Wheeler LLC, 48 Cal. 4th 68, 87 (2010)
      (applying foreign state’s time bars where exposure to toxic substance occurred in foreign state):

   Case                          Choice of Law            Counts End of Exposure Period /
                                                                 Latest Possible Delivery Date

   Holyfield v. Chevron          Filed in Missouri        4         ¶ 14 (1975)
   U.S.A. Inc.,
     No. 21-pq-553

   Hays v. Syngenta Crop         Filed in Missouri        6         ¶ 111 (2005)
   Protection, LLC,
     No. 21-pq-612

   Otten v. Syngenta Crop        Filed in Missouri        4, 8      ¶ 129 (1999)
   Protection LLC,
      No. 21-pq-613


                                                     21
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 24 of 42 Page ID #1197




   Adams v. Syngenta Crop       Filed in Missouri        6        ¶ 111 (1990s)
   Protection LLC,
     No. 21-pq-614

   McCarty v. Syngenta          Filed in Missouri        6        ¶ 111 (1990s)
   Crop Protection LLC,
     No. 21-pq-616

   Bequette v. Syngenta         Direct-filed in MDL. 6, 12,       ¶¶ 134, 136 (2012)
   Crop Protection LLC,         See ¶¶ 2-4, 9, 41, 98, 17, 24
     No. 21-pq-752              107, 127-147
                                (Missouri
                                connections)

   Ward v. Syngenta AG,         Filed in California.     4        ¶ 6 (2004)
     No. 21-pq-628              See ¶¶ 2, 26, 72-77
                                (Missouri
                                connections)

   Willey v. Syngenta AG,       Filed in California.     4        ¶ 75 (2001)
     No. 21-pq-784              See ¶ 73 (Missouri
                                connections)


  •   Cases governed by the Nebraska 4-year statute of limitations because they were direct-filed in
      this MDL and the plaintiff indicated that the suit would otherwise have been filed in Nebraska,
      and the alleged exposure and/or injury occurred in Nebraska; or because they were filed in
      California but governed by Nebraska law because the alleged exposure and/or injury occurred
      in Nebraska, McCann v. Foster-Wheeler LLC, 48 Cal. 4th 68, 87 (2010) (applying foreign
      state’s time bars where exposure to toxic substance occurred in foreign state):

   Case                         Choice of Law            Counts End of Exposure Period /
                                                                Latest Possible Delivery Date

   Van Pelt v. Syngenta AG,     Direct-filed in MDL. 4            ¶ 27 (1980s)
     No. 21-pq-608              See ¶ 10 (Nebraska
                                connections)

   Bergmann v. Syngenta AG, Filed in California.         4        ¶ 75 (2016)
     No. 21-pq-847          See ¶ 73 (Nebraska
                            connections)




                                                    22
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 25 of 42 Page ID #1198




  •   Cases governed by the New York 4-year statute of limitations because they were filed in
      California but governed by New York law because the alleged exposure and/or injury occurred
      in New York, McCann v. Foster-Wheeler LLC, 48 Cal. 4th 68, 87 (2010) (applying foreign
      state’s time bars where exposure to toxic substance occurred in foreign state):

   Case                         Choice of Law           Counts End of Exposure Period /
                                                               Latest Possible Delivery Date

   Albanese v. Syngenta AG,     Filed in California.    4         ¶ 74 (1970s)
      No. 21-pq-555             See ¶¶ 2, 6, 26, 72,
                                74 (New York
                                connections)

   Galasso v. Syngenta AG,      Filed in California.    4         ¶ 74 (1980s)
     No. 21-pq-630              See ¶¶ 26, 74 (New
                                York connections)

   Passino v. Syngenta AG,      Filed in California.    4         ¶ 74 (1982)
     No. 21-pq-665              See ¶¶ 72, 74 (New
                                York connections)


  •   Cases governed by the North Dakota 4-year statute of limitations because they were filed in
      North Dakota and alleged exposure and/or injury in North Dakota, see Vicknair v. Phelps
      Dodge Indus., Inc., 794 N.W.2d 746, 751-52 (N.D. 2011):

   Case                         Choice of Law           Counts End of Exposure Period /
                                                               Latest Possible Delivery Date

   Moen v. Syngenta Crop        Filed in North Dakota. 4, 8       ¶ 129 (1990s)
   Protection LLC,              See ¶¶ 3, 129, 137
     No. 21-pq-605              (North Dakota
                                connections)


  •   Cases governed by the Oklahoma 5-year statute of limitations because they were filed in
      Minnesota but allege exposure and/or injury in Oklahoma, see Minn. Stat. § 541.31(1)
      (directing application of the limitations period of the state whose law governs the substantive
      claim); Nodak Mut. Ins. Co. v. Am. Fam. Mut. Ins. Co., 604 N.W.2d 91, 96 (Minn. 2000)
      (holding “state where the accident occurred has the strongest governmental interest” and its
      law “should be applied”):




                                                  23
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 26 of 42 Page ID #1199




   Case                          Choice of Law           Counts End of Exposure Period /
                                                                Latest Possible Delivery Date

   McDonald v. Syngenta          Filed in Minnesota.     7          ¶ 112 (2015)
   Crop Protection, LLC,         See ¶¶ 2, 113, 205-
     No. 21-pq-642               207 (Oklahoma
                                 connections)

   McDonald v. Syngenta          Filed in Minnesota.     7          ¶ 110 (2011)
   Crop Protection, LLC,         See ¶¶ 2, 111, 201-
     No. 21-pq-645               203 (Oklahoma
                                 connections)


  •   Cases governed by the Pennsylvania 4-year statute of limitations because they were filed in
      Pennsylvania, see 42 Pa. C.S. § 5521 (providing that Pennsylvania’s limitations period will
      govern cases filed in the state if it bars the claim); or because they were filed in Minnesota but
      allege exposure and/or injury in Pennsylvania, see Minn. Stat. § 541.31(1) (directing
      application of the limitations period of the state whose law governs the substantive claim);
      Nodak Mut. Ins. Co. v. Am. Fam. Mut. Ins. Co., 604 N.W.2d 91, 96 (Minn. 2000) (holding
      “state where the accident occurred has the strongest governmental interest” and its law “should
      be applied”):

   Case                          Choice of Law           Counts End of Exposure Period /
                                                                Latest Possible Delivery Date

   Copas v. Syngenta Crop        Filed in                6, 12     ¶ 15 (2007)
   Protection LLC,               Pennsylvania
     No. 21-pq-619

   Landis v. Syngenta Crop       Filed in                4         ¶ 107 (2015)
   Protection, LLC,              Pennsylvania
     No. 21-pq-634

   Friday v. Syngenta Crop       Filed in                6, 12     ¶ 15 (2013)
   Protection LLC,               Pennsylvania
      No. 21-pq-657

   Supenia v. Syngenta Crop      Filed in Minnesota;     7         ¶ 112 (2003)
   Protection, LLC,              see ¶¶ 2, 113, 203-
     No. 21-pq-639               205 (Pennsylvania
                                 connections)




                                                   24
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 27 of 42 Page ID #1200




  •   Cases governed by the Tennessee 4-year statute of limitations because they were filed in
      Tennessee, which treats its statute of limitations as procedural for choice-of-law purposes,
      Calaway ex rel. Calaway v. Schucker, 193 S.W.3d 509, 515 (Tenn. 2005), or because they
      were filed in Minnesota but allege exposure and/or injury in Tennessee, see Minn. Stat.
      § 541.31(1) (directing application of the limitations period of the state whose law governs the
      substantive claim); Nodak Mut. Ins. Co. v. Am. Fam. Mut. Ins. Co., 604 N.W.2d 91, 96 (Minn.
      2000) (holding “state where the accident occurred has the strongest governmental interest” and
      its law “should be applied”):

   Case                          Choice of Law           Counts End of Exposure Period /
                                                                Latest Possible Delivery Date

   Morrow v. Syngenta Crop       Filed in Tennessee      D         ¶ 113 (2015)
   Protection LLC,
     No. 21-pq-647

   Self v. Syngenta Crop         Filed in Minnesota;     7         ¶ 110 (1978)
   Protection, LLC,              see ¶¶ 2, 108
      No. 21-pq-649              (connections to
                                 Tennessee)


  •   Cases governed by the Texas 4-year statute of limitations because they were filed in Minnesota
      but allege exposure and/or injury in Texas, see Minn. Stat. § 541.31(1) (directing application
      of the limitations period of the state whose law governs the substantive claim); Nodak Mut.
      Ins. Co. v. Am. Fam. Mut. Ins. Co., 604 N.W.2d 91, 96 (Minn. 2000) (holding “state where the
      accident occurred has the strongest governmental interest” and its law “should be applied”); or
      because they were filed in California but governed by Texas law because the alleged exposure
      and/or injury occurred in Texas, McCann v. Foster-Wheeler LLC, 48 Cal. 4th 68, 87 (2010)
      (applying foreign state’s time bars where exposure to toxic substance occurred in foreign state):

   Case                          Choice of Law           Counts End of Exposure Period /
                                                                Latest Possible Delivery Date

   Kirk v. Syngenta Crop         Filed in Minnesota      7         ¶ 110 (1978)
   Protection, LLC,              See ¶¶ 2, 111, 201-
      No. 21-pq-643              203 (Texas
                                 connections)

   Cates v. Syngenta Crop        Filed in Minnesota.     7         ¶ 110 (1978)
   Protection, LLC,              See ¶¶ 2, 107, 108,
     No. 21-pq-646               111, 201-203
                                 (Texas connections)



                                                   25
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 28 of 42 Page ID #1201




   Ingram v. Syngenta AG,       Filed in California.    4         ¶ 74 (1999)
      No. 21-pq-663             See ¶¶ 2, 6, 72
                                (Texas connections)


  •   Cases governed by the Virginia 4-year statute of limitations because they were filed in
      Minnesota but allege exposure and/or injury in Virginia, see Minn. Stat. § 541.31(1) (directing
      application of the limitations period of the state whose law governs the substantive claim);
      Nodak Mut. Ins. Co. v. Am. Fam. Mut. Ins. Co., 604 N.W.2d 91, 96 (Minn. 2000) (holding
      “state where the accident occurred has the strongest governmental interest” and its law “should
      be applied”); or because they were filed in California but governed by Virginia law because
      the alleged exposure and/or injury occurred in Virginia, McCann v. Foster-Wheeler LLC, 48
      Cal. 4th 68, 87 (2010) (applying foreign state’s time bars where exposure to toxic substance
      occurred in foreign state):

   Case                         Choice of Law           Counts End of Exposure Period /
                                                               Latest Possible Delivery Date

   Trower v. Syngenta Crop      Filed in Minnesota.     7         ¶ 110 (2003)
   Protection, LLC,             See ¶¶ 2, 111, 201-
     No. 21-pq-641              203 (Virginia
                                connections)

   Amatucci v. Syngenta AG,     Filed in California.    4         ¶ 26 (early 1990s)
     No. 21-pq-672              See ¶ 72 (Virginia
                                connections)


  •   Cases governed by the Washington 4-year statute of limitations because they were direct-filed
      in this MDL but allege exposure and injury in Washington:

   Case                         Choice of Law           Counts End of Exposure Period /
                                                               Latest Possible Delivery Date

   Crawford v. Syngenta         Direct-filed in MDL. 5, 10        ¶ 138 (early 2010)
   Crop Protection, LLC,        See ¶ 1, 2-3, 6-8, 15,
     No. 21-pq-590              46, 103, 112, 131-
                                138, 142, 147-151
                                (Washington
                                connections)

   Danforth v. Syngenta         Direct-filed in MDL. 6, 12,       ¶¶ 132-135 (1990)
   Crop Protection LLC,         See ¶¶ 1, 4, 9, 125- 18, 24
     No. 21-pq-690              145 (Washington
                                connections)

                                                  26
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 29 of 42 Page ID #1202




  •   Cases governed by the Wisconsin 6-year statute of limitations because they were filed in
      Wisconsin and allege exposure and/or injury in Wisconsin, see Wis. Stat. § 893.07.

   Case                       Choice of Law         Count    End of Exposure Period /
                                                             Latest Possible Delivery Date

   Tenneson v. Syngenta       Filed in Wisconsin    4, 8     ¶ 129 (1990s)
   Crop Protection LLC,
     No. 21-pq-589




                                               27
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 30 of 42 Page ID #1203




  The following statutory claims are barred by the applicable statute of limitations:
  •   Claims under Louisiana’s Unfair Trade Practices and Consumer Protection Act (1-year
      limitations period):

   Case                                            Counts End of Exposure Period /
                                                          Latest Possible Transaction Date

   Miller v. Syngenta Crop Protection, LLC,        5, 11     ¶ 127 (2002)
     No. 21-pq-591

   Brown Jefferson v. Syngenta AG,                 5, 11     ¶ 138 (2013)
     No. 21-pq-632

   Causey v. Syngenta Crop Protection L L C,       5, 11     ¶ 127 (1996)
     No. 21-pq-790


  •   Claims under Michigan’s Consumer Protection Act (6-year limitations period):

   Case                                            Counts End of Exposure Period /
                                                          Latest Possible Transaction Date

   Friday v. Syngenta Crop Protection LLC,         5, 11     ¶ 15 (2013)
      No. 21-pq-657


  •   Claims under Minnesota’s Uniform Deceptive Trade Practices Act and Prevention of
      Consumer Fraud Act (6-year limitations period):

   Case                                             Counts End of Exposure Period /
                                                           Latest Possible Transaction Date

   Supenia v. Syngenta Crop Protection, LLC,        5, 6      ¶ 112 (2003)
     No. 21-pq-639

   Trower v. Syngenta Crop Protection, LLC,         5, 6      ¶ 110 (2003)
     No. 21-pq-641

   Kirk v. Syngenta Crop Protection, LLC,           5, 6      ¶ 110 (1978)
      No. 21-pq-643

   McDonald v. Syngenta Crop Protection, LLC, 5, 6            ¶ 110 (2011)
     No. 21-pq-645


                                                  28
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 31 of 42 Page ID #1204




   Cates v. Syngenta Crop Protection, LLC,     5, 6   ¶ 110 (1978)
     No. 21-pq-646

   Self v. Syngenta Crop Protection, LLC,      5, 6   ¶ 110 (1978)
      No. 21-pq-649

   West v. Syngenta Crop Protection, LLC,      5, 6   ¶ 110 (1968)
     No. 21-pq-650

   Gaddis v. Syngenta Crop Protection, LLC,    5, 6   ¶ 110 (1976)
     No. 21-pq-653




                                              29
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 32 of 42 Page ID #1205




  The nuisance claims must be dismissed because they improperly repackage products liability
  claims and fail to plead the requisite “public right” and “control” elements:

   Case Number                                Counts         Also Barred by Control
                                                             Element?

   Hemker v. Syngenta Crop Protection, LLC, 4, 10, 16, 22    Yes. See Compl. ¶ 162 (Indiana
     No. 21-pq-547                                           connections).

   Piper v. Syngenta Crop Protection, LLC,    4, 10
      No. 21-pq-548

   Runyon v. Syngenta Crop Protection, LLC, 4, 10
     No. 21-pq-549

   Kearns v. Syngenta Crop Protection LLC,    4, 10, 16,
     No. 21-pq-550                            22, 28, 34

   Durbin v. Syngenta Crop Protection LLC,    4, 10
     No. 21-pq-551

   Richter v. Syngenta Crop Protection, LLC, 4, 10, 16, 22
      No 21-pq-571

   Gieseke v. Syngenta Crop Protection, LLC, 4, 8
     No. 21-pq-576

   Crawford v. Syngenta Crop                  3, 8
   Protection, LLC,
     No. 21-pq-590

   Miller v. Syngenta Crop Protection, LLC,   4, 10
     No. 21-pq-591

   Hill v. Syngenta Crop Protection, LLC,     4
      No. 21-pq-594

   Walkington v. Syngenta AG,                 4, 9, 14, 19
     No. 21-pq-601

   Nunnery v. Syngenta AG,                    4, 9
     No. 21-pq-607

   Ruscoe v. Syngenta AG,                     4, 9
     No. 21-pq-609


                                                  30
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 33 of 42 Page ID #1206




   Hays v. Syngenta Crop Protection, LLC,   4         Yes. See Compl. ¶¶ 2, 15, 18-20
     No. 21-pq-612                                    (Missouri connections).

   Adams v. Syngenta Crop Protection LLC,   4         Yes. See Compl. ¶¶ 2, 15, 18-20
     No. 21-pq-614                                    (Missouri connections).

   McCarty v. Syngenta Crop Protection LLC, 4         Yes. See Compl. ¶¶ 2, 15, 18-20
     No. 21-pq-616                                    (Missouri connections).

   Copas v. Syngenta Crop Protection LLC,   4, 10     Yes. See Compl. ¶¶ 13-14, 140-43
     No. 21-pq-619                                    (Indiana connections).

   Parson v. Syngenta Crop Protection, LLC, 4, 10
     No. 21-pq-631

   Brown Jefferson v. Syngenta AG,          4, 10
     No. 21-pq-632

   Henderson v. Syngenta Crop               4, 11     Yes. See Compl. ¶¶ 1-3, 6-8, 15,
   Protection LLC,                                    46, 103, 112, 131-138, 139, 142,
     No. 21-pq-636                                    147-151 (New York designation
                                                      and connections).

   Elmore v. Syngenta Crop Protection, LLC, 4
     No. 21-pq-638

   Supenia v. Syngenta Crop Protection, LLC, 4        Yes. See Compl.
     No. 21-pq-639                                    see ¶¶ 2, 113, 169-73
                                                      (Pennsylvania connections).

   Gamwell v. Syngenta Crop                 4         Yes. See Compl. ¶¶ 2, 111, 166-
   Protection, LLC,                                   71 (Florida connections).
     No. 21-pq-640

   Trower v. Syngenta Crop Protection, LLC, 4
     No. 21-pq-641

   McDonald v. Syngenta Crop                4         Yes. See Compl. ¶¶ 2, 113, 171-
   Protection, LLC,                                   75 (Oklahoma connections)
     No. 21-pq-642

   Kirk v. Syngenta Crop Protection, LLC,   4
      No. 21-pq-643




                                                 31
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 34 of 42 Page ID #1207




   Richmond v. Syngenta Crop                  4        Yes. See Compl. ¶¶ 2, 113, 172-
   Protection, LLC,                                    76 (Florida connections).
      No. 21-pq-644

   McDonald v. Syngenta Crop                  4        Yes. See Compl. ¶¶ 2, 111, 167-
   Protection, LLC,                                    71 (Oklahoma connections).
     No. 21-pq-645

   Cates v. Syngenta Crop Protection, LLC,    4
     No. 21-pq-646

   Pilgreen v. Syngenta Crop                  4
   Protection, LLC,
      No. 21-pq-648

   Self v. Syngenta Crop Protection, LLC,     4        Yes. See Compl. ¶¶ 2, 108
      No. 21-pq-649                                    (Tennessee connections).

   West v. Syngenta Crop Protection, LLC,     4
     No. 21-pq-650

   Gaddis v. Syngenta Crop Protection, LLC, 4
     No. 21-pq-653

   Smith v. Syngenta Crop Protection, LLC,    4        Yes. See Compl. ¶¶ 2, 170-74
     No. 21-pq-654                                     (Florida connections).

   Wilson v. Syngenta Crop Protection, LLC,   4
     No. 21-pq-655

   Crane v. Syngenta Crop Protection LLC,     4, 10
     No. 21-pq-656

   Friday v. Syngenta Crop Protection LLC,    4, 10    Yes. See Compl. ¶¶ 13-15
      No. 21-pq-657                                    (Michigan connections).

   Rysavy v. Syngenta Crop Protection, LLC, 6          Yes. See Compl. ¶¶ 1-2, 21, 84,
     No. 21-pq-659                                     160-64 (Minnesota connections).

   Milling v. Syngenta Crop Protection, LLC   4, 10
     No. 21-pq-671

   Sweeten v. Syngenta Crop Protection, LLC, 4, 11     Yes. See Compl. ¶¶ 3, 6-8, 15
     No. 21-pq-687                                     (Idaho connections and
                                                       designation).


                                                  32
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 35 of 42 Page ID #1208




   Danforth v. Syngenta Crop                  4, 10, 16, 22
   Protection LLC,
     No. 21-pq-690

   Zaugg v. Syngenta Crop Protection LLC,     6               Yes. See Compl. ¶¶ 9-10 (Idaho
     No. 21-pq-694                                            connections and designation).

   Byrnes v. Syngenta Crop Protection LLC,    4, 11           Yes. See Compl. ¶¶ 3, 6-8, 15, 45-
     No. 21-pq-695                                            46, 103, 112, 131-38, 141, 146-50
                                                              (Iowa designation and
                                                              connections).

   Willyard v. Syngenta AG,                   4, 10
     No. 21-pq-715

   Heath v. Syngenta Crop Protection, LLC,    4
     No. 21-pq-734

   Bequette v. Syngenta Crop Protection LLC, 4, 10, 16, 22    Yes. See Compl. ¶¶ 2-4, 9, 41, 98,
     No. 21-pq-752                                            107, 127-147 (Missouri
                                                              connections)

   Rowan v. Syngenta AG,                      5
     No. 21-pq-778

   Causey v. Syngenta Crop Protection L L C, 4, 10
     No. 21-pq-790

   Burnette v. Syngenta Crop                  4, 10
   Protection, LLC,
     No. 21-pq-822

   Tippey v. Syngenta Crop Protection LLC,    4, 10
      No. 21-pq-829

   Barber v. Syngenta Crop Protection LLC,    4, 10
     No. 21-pq-830

   Altman v. Syngenta Crop Protection, LLC, 4
      No. 21-pq-832

   Douglas v. Syngenta Crop                   4
   Protection, LLC,
     No. 21-pq-833



                                                  33
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 36 of 42 Page ID #1209




   Halloran v. Syngenta AG                    4
     No. 21-pq-834

   Stanton v. Syngenta Crop Protection, LLC, 4
      No. 21-pq-835

   Fuller v. Syngenta Crop Protection, LLC,   4
     No. 21-pq-836

   Branscum v. Syngenta Crop                  4
   Protection, LLC,
     No. 21-pq-838

   Branscum v. Syngenta Crop                  4
   Protection, LLC,
     No. 21-pq-839

   Shea v. Syngenta Crop Protection LLC,      4, 10
     No. 21-pq-840

   Bankston v. Syngenta Crop                  4
   Protection, Inc.,
     No. 21-pq-843




                                                  34
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 37 of 42 Page ID #1210




  Chevron U.S.A. Inc. must be dismissed as a Defendant in the following cases, because the alleged
  exposure to paraquat began at least 4 years after Chevron concededly ceased its role distributing
  the product, and it is therefore implausible that Chevron bears any liability:

   Case                               Admission That Chevron          Alleged Exposure Period
                                      Left the Market in 1986
   Rakoczy v. Syngenta Crop           ¶¶ 111, 128                     ¶ 129 (2013-2017)
   Protection, LLC,
     No. 21-pq-554

   Turner v. Syngenta Crop            ¶¶ 109-111                      ¶ 129 (1990s-2000s)
   Protection LLC,
     No. 21-pq-558

   Gieseke v. Syngenta Crop           ¶¶ 111, 128                     ¶ 129 (2006-2018)
   Protection, LLC,
     No. 21-pq-576

   Hill v. Syngenta Crop              ¶ 33                            ¶ 114 (1995-2010)
   Protection, LLC,
      No. 21-pq-594

   Moen v. Syngenta Crop              ¶¶ 111, 128                     ¶ 129 (1990s)
   Protection LLC,
     No. 21-pq-605

   Hensgens v. Syngenta AG,           ¶¶ 17, 20-22                    ¶ 78 (2011-2014)
     No. 21-pq-617

   Vacchino v. Syngenta AG,           ¶¶ 17, 20-22                    ¶ 74 (1992-1997)
     No. 21-pq-623

   Brown Jefferson v. Syngenta AG, ¶¶ 119, 136                        ¶ 138 (2005-2013)
     No. 21-pq-632

   Gamwell v. Syngenta Crop           ¶ 31                            ¶ 110 (2004-2019)
   Protection, LLC,
     No. 21-pq-640

   McDonald v. Syngenta Crop          ¶ 31                            ¶ 112 (1990-2015)
   Protection, LLC,
     No. 21-pq-642




                                                 35
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 38 of 42 Page ID #1211




   McDonald v. Syngenta Crop   ¶ 31                    ¶ 110 (1990-2011)
   Protection, LLC,
     No. 21-pq-645

   Pilgreen v. Syngenta Crop   ¶ 31                    ¶ 110 (2000-2020)
   Protection, LLC,
      No. 21-pq-648

   Normand v. Syngenta AG,     ¶¶ 17, 20-22            ¶ 78 (1993-2018)
     No. 21-pq-661

   Nelson v. Syngenta AG,      ¶¶ 17, 20-22            ¶ 74 (2005-2012)
     No. 21-pq-662

   Ingram v. Syngenta AG,      ¶¶ 17, 20-22            ¶ 74 (1990-1999)
      No. 21-pq-663

   Lovelady v. Syngenta AG,    ¶ 129                   ¶ 150 (1996-2002)
     No. 21-pq-704

   Altman v. Syngenta Crop     ¶ 32                    ¶ 113 (1998-2011)
   Protection, LLC,
      No. 21-pq-832

   Douglas v. Syngenta Crop    ¶ 32                    ¶ 113 (1992-1993)
   Protection, LLC,
     No. 21-pq-833

   Branscum v. Syngenta Crop   ¶ 32                    ¶ 113 (1998-2014)
   Protection, LLC,
     No. 21-pq-838

   Branscum v. Syngenta Crop   ¶ 32                    ¶ 113 (1998-2014)
   Protection, LLC,
     No. 21-pq-839




                                         36
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 39 of 42 Page ID #1212




  Chevron U.S.A. Inc. must also be dismissed as a Defendant in the warranty claims in the following
  additional cases, because Chevron ceased distributing paraquat in 1986 and the applicable statute
  of limitations on a warranty claim against Chevron (ranging from 4 to 6 years in these states) has
  since necessarily expired, even if warranty claims against other Defendants are not time-barred:

   Case                               Applicable Law                  Counts Admission That
                                                                             Chevron Left the
                                                                             Market in 1986
   Thibodeaux v. Syngenta Crop        Louisiana                       D      ¶¶ 5-7, 41-43
   Protection L L C,                  (filed in Louisiana)
     No. 21-pq-788
   Nunnery v. Syngenta AG,            Mississippi                     10       ¶¶ 25-28, 158-160
     No. 21-pq-607                    (filed in Mississippi)

   Piper v. Syngenta Crop             Illinois (filed in Illinois)    12       ¶¶ 2-4, 33-34
   Protection, LLC,
      No. 21-pq-548

   Halloran v. Syngenta AG,           Illinois (filed in Illinois)    6        ¶ 32
     No. 21-pq-834

   Crane v. Syngenta Crop             Pennsylvania (filed in          12       ¶¶ 3-5, 46-48
   Protection LLC,                    Pennsylvania)
     No. 21-pq-656

   Parson v. Syngenta Crop            Oregon (filed in California     12       ¶¶ 3-5, 43-45
   Protection, LLC,                   but alleges exposure in
     No. 21-pq-631                    Oregon, ¶¶ 8, 13, 14)

   Smith v. Syngenta Crop             Illinois (filed in California   8        ¶¶ 119, 136
   Protection, LLC,                   but alleges injury in
     No. 21-pq-627                    Illinois, ¶¶ 4, 137, 138)

   Edwards v. Syngenta Crop           Missouri (filed in California 8          ¶¶ 119, 136
   Protection, LLC,                   but alleges injury in
     No. 21-pq-666                    Missouri, ¶ 4)

   Elmore v. Syngenta Crop            Mississippi (filed in           7        ¶ 31
   Protection, LLC,                   Minnesota but alleges
     No. 21-pq-638                    exposure and injury in
                                      Mississippi, ¶¶ 2, 108, 110-
                                      112, 202-204)

   Henderson v. Syngenta Crop         New York (direct-filed in  13            ¶¶ 120, 137
   Protection LLC,                    MDL but plaintiff
     No. 21-pq-636                    designated New York, ¶ 15)

                                                  37
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 40 of 42 Page ID #1213




   Hawkins v. Syngenta Crop            Illinois (direct-filed in         4       ¶ 34
   Protection LLC,                     MDL but alleges exposure
     No. 21-pq-635                     and injury in Illinois, ¶¶ 21,
                                       174)


  Chevron U.S.A. Inc. must also be dismissed as a Defendant in the Minnesota statutory claims in
  the following additional cases, because Chevron ceased distributing paraquat in 1986 and the
  applicable 6-year statute of limitations on these claims against Chevron, which accrue at the time
  of the sale transaction, has since necessarily expired, even if these statutory claims against other
  Defendants are not time-barred:

   Case                                                 Counts          Admission That Chevron
                                                                        Left the Market in 1986
   Elmore v. Syngenta Crop Protection, LLC,             5, 6            ¶ 31
     No. 21-pq-638

   Richmond v. Syngenta Crop Protection, LLC,           5, 6            ¶ 31
      No. 21-pq-644

   Smith v. Syngenta Crop Protection, LLC,              5, 6            ¶ 31
     No. 21-pq-654

   Wilson v. Syngenta Crop Protection, LLC,             5, 6            ¶ 31
     No. 21-pq-655
   Rysavy v. Syngenta Crop Protection, LLC,             5, 7            ¶ 28
     No. 21-pq-659


  Chevron U.S.A. Inc. must also be dismissed as a Defendant in the strict liability claims in the
  following additional cases, because Chevron ceased distributing paraquat in 1986 and the Illinois
  statute of repose governing strict liability claims against Chevron has since necessarily expired,
  even if strict liability claims against other Defendants are not time-barred:

   Case                                Applicable Law                    Counts Admission That
                                                                                Chevron Left the
                                                                                Market in 1986
   Piper v. Syngenta Crop              Illinois (filed in Illinois)      7, 8   ¶¶ 2-4, 33-34
   Protection, LLC,
      No. 21-pq-548

   Smith v. Syngenta Crop              Illinois (filed in California     5, 6    ¶¶ 119, 136
   Protection, LLC,                    but involving Illinois
     No. 21-pq-627                     injury, see ¶¶ 4, 137-138).



                                                   38
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 41 of 42 Page ID #1214




   Halloran v. Syngenta AG,   Illinois (filed in Illinois and   2, 3   ¶ 32
     No. 21-pq-834            involving Illinois exposure
                              and injury, see ¶ 18).




                                          39
Case 3:21-md-03004-NJR Document 351-1 Filed 09/13/21 Page 42 of 42 Page ID #1215




  The following derivative claims must be dismissed because all of the corresponding substantive
  claims are subject to dismissal based on Chevron’s motion and Syngenta’s:

   Case                                              Counts
   Albanese v. Syngenta AG,                          5, 6
     No. 21-pq-555

   O'Connor v. Syngenta AG,                          5, 6
     No. 21-pq-556

   Van Pelt v. Syngenta AG,                          5
     No. 21-pq-608

   Copas v. Syngenta Crop Protection LLC,            13
     No. 21-pq-619

   Werking v. Syngenta AG,                           5
     No. 21-pq-625

   Galasso v. Syngenta AG,                           5, 6
     No. 21-pq-630

   Henderson v. Syngenta Crop Protection LLC,        14
     No. 21-pq-636

   Crane v. Syngenta Crop Protection LLC,            13
     No. 21-pq-656

   Friday v. Syngenta Crop Protection LLC,           13
     No. 21-pq-657

   Mettetal v. Syngenta AG,                          5
     No. 21-pq-668

   Byrnes v. Syngenta Crop Protection LLC,           7, 14
     No. 21-pq-695

   Lovelady v. Syngenta AG,                          9
     No. 21-pq-704

   Eiland v. Syngenta AG,                            5
      No. 21-pq-714

   Fillinghim v. Syngenta AG,                        5
      No. 21-pq-846


                                                40
